
894 N.E.2d 509 (2008)
In the Matter of Heather L. CLARK-REYNOLDS, Respondent.
No. 98S00-0801-DI-19.
Supreme Court of Indiana.
January 25, 2008.

ORDER TO SHOW CAUSE
The Indiana Supreme Court Disciplinary Commission, pursuant to Indiana Admission and Discipline Rule 23(10)(f), petitions *510 this Court to direct Respondent to show cause why she should not be immediately suspended from the practice of law in this State due to Respondent's failure to respond to the Commission's demands for a response to a grievance filed against her, which were sent to Respondent at her official address of record with the Clerk of this Court.
Being duly advised, the Court now ORDERS, pursuant to Admission and Discipline Rule 23(10)(f), that Respondent show cause in writing, within 10 days of service of this order, why Respondent should not be immediately suspended from the practice of law in this state due to failure to submit to the Disciplinary Commission a written response to pending allegations of misconduct requiring a written response.
The Clerk of this Court is directed to serve a certified copy of this Order upon Respondent by delivering a copy to her personally, or by sending to her a certified copy of it by registered or certified mail, return receipt requested.
The Clerk of this Court is further directed to provide notice of this Order to the Indiana Supreme Court Disciplinary Commission and its attorney of record.
